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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )     No. CR-07-075-LRS
                        Plaintiff,              )
 9                                              )     ORDER DENYING THE UNITED
      v.                                        )     STATES’ MOTION FOR
10                                              )     RECONSIDERATION
      TEESHA M. PATTERSON,                      )
11                                              )
                        Defendant.              )
12                                              )

13         At the June 14, 2007, hearing on the United States’ Motion for

14   Reconsideration of Order Granting Defendant’s Motion for release,

15   the United States was represented by George Jacobs.                  The Defendant

16   was   present   with     Assistant      Federal      Defender    Christina    Hunt.

17   Defendant’s release was stayed by Order filed June 11, 2007, pending

18   today’s hearing.

19         Having considered the recent information submitted and the

20   argument of counsel, the undersigned concludes the earlier release

21   order should not be modified, except that Defendant shall be

22   evaluated for possible chemical dependency.

23         Accordingly, the United States’ Motion (Ct. Rec. 54) is DENIED.

24   The Defendant may be released on the conditions in this court’s

25   Order filed June 8, 2007.

26         In   addition,     within   two    weeks     of    Defendant’s   release,   a

27   chemical dependency evaluation must be completed and confirmed by

28   Pretrial Services.        Defendant must complete any substance abuse


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 1   treatment recommended and shall comply with all of the rules of the
 2   treatment program.          If Defendant fails in any way to comply or
 3   cooperate with the requirements and rules of the treatment program,
 4   Pretrial Services shall notify the court.                       The United States
 5   Probation Office shall determine the time and place of testing and
 6   evaluation     and   the    scope   of     treatment.         Defendant    shall    be
 7   responsible for the cost of the treatment.                   Full mutual releases
 8   shall    be   executed     to   permit    communication       between     the   court,
 9   Pretrial Services, and the treatment vendor.
10           IT IS SO ORDERED.
11           DATED June 15, 2007.
12
13                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
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     ORDER DENYING THE UNITED STATES’ MOTION FOR RECONSIDERATION - 2
